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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

LORI A. STEWART,
Plaintiff,
Vv. No. 11-cv-264-LH-ACT
COMMERCIAL RECOVERY SYSTEMS, INC.;
Defendant.
NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Plaintiff Lori A. Stewart hereby dismisses the above captioned action with prejudice,

pursuant to FRCP 41(a)(1)(i).

Respectfully submitted,

TREINEN LAW OFFICE, Attorneys for Plaintiff

ROB — ——

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